Case 2:22-cv-00223-Z Document 43 Filed 02/09/23 Pageiofi PagelD 2494

 

U.S. DISTRICT COURT

 

 

 

 

 

 

 

NORTHERN DISTRICT OF TEXA:
IN THE UNITED STATES DISTRICT COURT FILED AP
FOR THE NORTHERN DISTRICT OF TEXAS FEB - 9 2023 \
AMARILLO DIVISION 1
CLERK, U.S. DISTRICT COURT
ALLIANCE FOR HIPPOCRATIC § By
MEDICINE, et al., § m
§
Plaintiffs, §
§
V. § 2:22-CV-223-Z
§
U.S. FOOD AND DRUG §
ADMINISTRATION, et al., §
§
Defendants. §
ORDER

On February 6, 2023, the Court granted Danco Laboratories, LLC’s (“Danco”) motion to
intervene. ECF No. 33. Accordingly, the Court hereby ORDERS Danco to promptly file its brief in
opposition to Plaintiffs motion for a preliminary injunction (ECF No. 19-1). Plaintiffs may file any
reply to Defendants’ responses to the motion for preliminary injunction on or before February
24, 2023. Briefing will then be closed on the matter, absent any “exceptional or extraordinary
circumstances.” Sw. Insulation, Inc. v. Gen. Insulation Co., No. 4:15-CV-601-O, 2016 WL
9244824, at *1 (N.D. Tex. June 6, 2016) (noting sur-replies are “highly disfavored”). Danco may
also respond to the Court’s order requiring briefing from parties on consolidation under Federal
Rule of Civil Procedure 65(a)(2). See ECF No. 32. Any response to that order must be filed on or

before February 10, 2023.
SO ORDERED.
February 7%. 2023 Af

MATTHEW J. KACSMARYK
UNITED STATES DISTRICT JUDGE

 

 
